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12                                    UNITED STATES DISTRICT COURT
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                            Case No. 2:90-cv-00520-KJM-DB
16                      Plaintiffs,                  STIPULATION AND ORDER
                                                     CONFIRMING ATTORNEYS’ FEES
17                 v.                                AND COSTS FOR THE SECOND
                                                     QUARTER OF 2023
18 GAVIN NEWSOM, et al.,
                                                     Judge: Hon. Deborah Barnes
19                      Defendants.
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     [4356150.1]

                        STIPULATION AND ORDER CONFIRMING ATTORNEYS’ FEES AND COSTS
                                      FOR THE SECOND QUARTER OF 2023
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 1                 Pursuant to the periodic fees process in this case, Plaintiffs sent their Quarterly
 2 Statement for the Second Quarter of 2023 to Defendants via e-mail on August 11, 2023.
 3 The parties completed their meet and confer process on September 8, 2023. The parties
 4 have resolved all disputes regarding fees and costs for the Second Quarter of 2023, with an
 5 agreement to reduce claimed amounts to a total of $1,191,210.77 calculated at a rate of
 6 $246.00 per hour pursuant to 42 U.S.C.A. § 1997e(d)(3).
 7                 THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE that
 8 $1,191,210.77 plus interest is due and collectable as of forty-five days from the date of
 9 entry of this Order. Interest on these fees and costs will run from September 11, 2023 (31
10 days after Defendants’ receipt of Plaintiffs’ statement), accruing at the rate provided by
11 28 U.S.C. § 1961.
12                 IT IS SO STIPULATED.
13
14 DATED: September 11, 2023                             /s/ Elise Thorn
                                                         Elise Thorn
15                                                       Deputy Attorney General
16                                                       Attorneys for Defendants

17
18 DATED: September 11, 2023                             /s/ Lisa Ells
                                                         Lisa Ells
19
                                                         ROSEN BIEN GALVAN & GRUNFELD LLP
20                                                       Attorneys for Plaintiffs

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22                 IT IS SO ORDERED.
23 Dated: October 23, 2023
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     [4356150.1]
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                         STIPULATION AND ORDER CONFIRMING ATTORNEYS’ FEES AND COSTS
                                       FOR THE SECOND QUARTER OF 2023
